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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,

             vs.

SHAKAYLA LORRENE TUCKER,
                                                      INDICTMENT
                  Defendant.
_________________________________/

      The Grand Jury charges:

                                    COUNTS 1-8
                                    (Wire Fraud)

      Between on or about March 22, 2021 and on or about September 13, 2021, in

Berrien County, in the Southern Division of the Western District of Michigan,

                        SHAKAYLA LORRENE TUCKER,

having knowingly devised a scheme and artifice to defraud, and to obtain money by

means of false and fraudulent pretenses and representations, caused signs, sounds,

and signals to be transmitted by wire in interstate commerce for the purpose of

executing the scheme.

      The defendant electronically submitted Paycheck Protection Program (PPP)

loan applications and supporting documents for “Shakayla Tucker,” a fictitious sole

proprietorship, which resulted in the transfer of $20,832 in first-draw loan proceeds

from Capital Plus Financial LLC (“Capital Plus”), a community development

financial institution in Texas, and the transfer of $20,832 in second-draw loan
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proceeds from Prestamos CDFI LLC (“Prestamos”), a community development

financial institution in Arizona, to an account controlled by the defendant in

Michigan.

         The defendant reported fictitious income and expenses to qualify for the

loans, and certified that she would use the funds only for business related purposes

as authorized by PPP, when in fact, she spent the money on personal goods and

services. She then falsely certified that she had spent 100% of her first draw loan on

payroll costs, to induce the SBA to forgive her loan and repay Capital Plus on her

behalf.

         For the purpose of executing the scheme and artifice, the defendant

knowingly and intentionally transmitted, and caused to be transmitted, by means of

wire communications in interstate commerce the following writings, signs, signals,

pictures, and sounds:

 COUNT        DATE              DESCRIPTION
   1          March 22, 2021    Borrower’s application to SBA for PPP first draw
                                loan no. 8288178610.
     2        March 29, 2021    Lender’s application by Capital Plus to SBA for PPP
                                first draw loan no. 8288178610.
     3        April 2, 2021     Deposit of PPP first draw loan disbursement from
                                Capital Plus for loan no. 8288178610, in amount
                                $20,832, to defendant’s PNC Bank account ending in
                                4596.
     4        April 24, 2021    Borrower’s application to SBA for PPP second draw
                                loan no. 1240699009.
     5        April 24, 2021    Lender’s application by Prestamos to SBA for PPP
                                second draw loan no. 1240699009.
     6        May 28, 2021      Deposit of PPP second draw loan disbursement from
                                Prestamos, in amount $20,832, to defendant’s PNC
                                Bank account ending in 4596.
     7        September 6,      Application to SBA for loan forgiveness for PPP first
              2021              draw loan no. 8288178610.
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    8      September 13,   Transfer of $20,832 from SBA to Capital Plus in
           2021            repayment of PPP first draw loan no. 8288178610.

18 U.S.C. § 1343
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                                  COUNTS 9-12
                                  (Wire Fraud)

      Between on or about November 28, 2020 and on or about February 1, 2022, in

Berrien County, in the Southern Division of the Western District of Michigan, and

elsewhere,

                        SHAKAYLA LORRENE TUCKER,

having devised a scheme and artifice to defraud, and to obtain money by means of

false and fraudulent pretenses and representations, caused signs, sounds, and

signals to be transmitted by wire in interstate commerce for the purpose of

executing the scheme.

      The defendant electronically submitted an initial application and weekly

claims for Unemployment Insurance (UI) benefits to the Indiana Department of

Workforce Development (IDWD), and thereby caused IDWD to deposit

approximately $32,175 to an account she controlled. The defendant falsely

represented that she had been laid off by an employer in Indiana due to the COVID

pandemic, when in fact she had never worked for that employer.

      The defendant also failed to disclose that she was already receiving UI

payments at the same time from the Michigan Unemployment Insurance Agency

(UIA). When IDWD suspended her benefits and sent her a notice of overpayment,

the defendant appealed, and falsely represented that she had never filed for UI in

any other state.
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      For the purpose of executing the scheme and artifice, the defendant

knowingly and intentionally transmitted, and caused to be transmitted, by means of

wire communication in interstate commerce the following writings, signs, signals,

pictures, and sounds:

 COUNT DATE                      DESCRIPTION
   9   November 28, 2020         Application for Indiana UI benefits, claim no.
                                 91498392.
    10     November 15, 2021     Two letters faxed to Indiana DWD appealing
                                 suspension of UI benefits.
    11     November 30, 2021     Deposit of $24,244 lump sum Indiana UI benefits
                                 for claim no. 914983392 to defendant’s Bancorp
                                 Bank account ending in 4673.
    12     February 1, 2022      Deposit of $3,143 lump sum Indiana UI benefits
                                 for claim no. 914983392 to defendant’s Bancorp
                                 Bank account ending in 4673.

18 U.S.C. § 1343



                                      A TRUE BILL


                                      __________________________________________
                                      ____________________________________
                                      G A
                                      GRAND           O
                                              JURY FOREPERSON SO

MARK A. TOTTEN
United States Attorney


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NILS R. KESSLER
Assistant United States Attorney
